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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS,
                              FORT WORTH DIVISION

DIANNE DORMAN,                           §
                                         §
          Plaintiff/Counter-Defendant,   §
                                         §
V.                                       §
                                         §
DEUTSCHE BANK NATIONAL TRUST             §
COMPANY AS TRUSTEE FOR                   § CIVIL ACTION NO. 4:24-CV-00024
SECURITIZED ASSET BACKED                 §
RECEIVABLES LLC TRUST 2007-NCI,          §
MORTGAGE PASS-THROUGH                    §
CERTIFICATES, SERIES 2007-NCI &          §
PHH MORTGAGE SERVICING,                  §
                                         §
          Defendants/Counter-Plaintiffs. §

                       PLAINTIFF’S FIRST AMENDED PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, Dianne Dorman, (“Plaintiff(s)”), and serves this, Plaintiff’s Original Petition
against Defendants, DEUTSCHE BANK NATIONAL TRUST COMPANY AS TRUSTEE FOR
SECURITIZED ASSET BACKED RECEIVABLES LLC TRUST 2007-NCI, MORTGAGE
PASS-THROUGH CERTIFICATES, SERIES 2007-NCI and PHH MORTGAGE
CORPORATION (“Defendant(s)”), and in support thereof, would respectfully show the Court as
follows:

                                             I.
                                       Discovery Level

1. Discovery of this matter shall be conducted pursuant to Level 3 pursuant to Rule 190.4 of the

   Texas Rules of Civil Procedure.

                                              II.
                                            Parties

2. Plaintiff, Dianne Dorman is the owner of the residence located at 100 Ascot Dr., Southlake,

   Texas 76092 (the Residence). Plaintiffs may receive all correspondence and filings via their

   attorney of record herein.
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3. Defendant, DEUTSCHE BANK NATIONAL TRUST COMPANY AS TRUSTEE FOR

   SECURITIZED ASSET BACKED RECEIVABLES LLC TRUST 2007-NCI, MORTGAGE

   PASS-THROUGH CERTIFICATES, SERIES 2007-NCI is a trust for holding mortgage-

   backed securities for which U.S. Bank National Association is the Trustee and conducts

   business in Tarrant County, Texas and is the current mortgagee per Defendant’s publicly filed

   foreclosure notice. Defendant does not have a registered agent listed and therefore may be

   served through the secretary of state.

4. Defendant, PHH MORTGAGE CORPORATION is a mortgage servicer located at 1661

   WORTHINGTON RD STE 100 C/O MAIL STO WEST PALM BEACH, FL 33409-6493 and

   conducts business in Tarrant County, Texas. Defendant may be SERVED through its

   registered agent, CORPORATION SERVICE COMPANY DBA CSC - LAWYERS

   INCO at 211 E. 7TH STREET SUITE 620 AUSTIN, TX 78701.

                                             III.
                                            Venue

5. Venue is proper in Tarrant County, Texas, as that all or a substantial part of the events or

   omissions giving rise to the claim occurred in Tarrant County, Texas and it involves real

   property located in Tarrant County, Texas. Tex. Civ. Prac. & Rem. Code §15.002(a) and

   §15.011.

                                              IV.
                                             Facts

6. Dianne Dorman, Plaintiff, is the owner of the Residence located at 100 Ascot Dr., Southlake,

   Texas 76092, which is also plaintiff’s homestead. (the “Residence”).


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7. Ms. Dorman bought this house in 2005 with mostly cash for $345,000.00, but only needed a

   loan of $70,000.00. It is now worth about $980,000.00, conservatively.

8. She did complete a Texas Home Equity Loan refinance a year later, raising her mortgage from

   $70,000.00 to $190,000.00. She has not done another refinance or equity loan since.

9. Up until earlier this year, Ms. Dorman was a corporate executive making very good money,

   but got into a tragic car accident that caused a brain injury, and she hasn’t been able to get back

   to her previous job yet. She is currently making about $80,000.00 per year on disability.

10. Ms. Dorman has been fighting with her lender for some time now. Specifically, payments

   were sent in back in 2014 and 2015 that have never been applied to her loan. There are also

   inconsistencies between what the Defendants reported to the IRS as being paid by Plaintiff and

   what Defendants have advised Plaintiff that she has paid. Specifically, Defendants have

   reported payments being made to the IRS but then claim that Plaintiff has not made those very

   same payments to Plaintiff.

11. Additionally, the lender placed insurance on her mortgage when she was already paying for

   her homeowner’s insurance and taxes, per her contract with the lender. She never received any

   notice that this was going to happen before it had already turned into a big problem for her.

12. Defendants are also now claiming that she owes them $700,000.00, which is impossible by

   Plaintiff’s calculations, and which is why Plaintiff is requesting that an accounting be ordered.

   This is especially concerning since in 2016, after winning an adversary proceeding in

   bankruptcy against her lender at the time, she was advised she owed $185,000.00.




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13. Ms. Dorman never received a 20-Day Notice to Cure, nor did she received a Notice of

     Acceleration advising her of the January 2nd, 2024 foreclosure date. She only found out about

     it because of Investors wanting to buy her home.

14. Ms. Dorman should owe approximately $180,000.00, despite Defendant’s claim that she owes

     $700,000.00. Since her home is worth approximately $980,000.00, she has approximately

     $800,000.00 in equity that she could lose if her home is allowed to go to foreclosure.

15. All facts stated herein are verified under penalty of perjury per the signed unsworn verification

     block below.

                                                   V.
                                            Causes of Action

A.       20-Day Notice to Cure AND Notice of Acceleration Not Sent to Plaintiff

16. All facts and allegations set forth above are incorporated by reference herein for all purposes.

17. The power of acceleration is a harsh remedy and calls for close scrutiny. See Vaughan v. Crown

     Plumbing & Sewer Serv., Inc., 523 S.W. 2d 72, 75 (Tex. Civ. App. – Houston (1st Dist.) 1975,

     writ ref’d n.r.e.). The exercise of the right of acceleration requires two acts: (1) notice of intent

     to accelerate, and (2) notice of acceleration. Shumway v. Horizon Credit Corp., 801 S.W.2d

     890, 892 (Tex. 1991); and see Holy Cross Church of God in Christ v. Wolf, 44 S.W.3d 562,

     569–570 (Tex. 2001). Both notices must be “clear and unequivocal”. Id. at 893 and 566.

     Finally, whether the right of acceleration was exercised is a fact question. Holy Cross Church

     of God v. Wolf at 568.




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18. Under Texas Property Code Chapter 51 any debtor who, according to the records of the

   mortgage servicer, is obligated to pay the debt must be served with a valid and correct written

   notice to cure and notice of the trustee’s sale by certified mail. See Tex. Prop. Code § 51.002.

19. Failure to give the required notices is sufficient to cause a court to set aside the foreclosure

   sale. See Bauder v. Alegria, 480 S.W.3d 92, 98 & n.8 (Tex. App.—Houston [14th Dist.] 2015,

   no pet.); Shearer v. Allied Live Oak Bank, 758 S.W.2d 940, 942 (Tex. App.—Corpus Christi

   1988, writ denied).

20. In the case of a contractual lien on real property used as the debtor’s residence, the debtor is

   entitled to a 20-day window of opportunity to cure any default before the mortgage servicer

   may provide notice of sale of the residence. Tex. Prop. Code Sect. 51.002. Accordingly, the

   mortgage servicer must provide written notice by certified mail stating that the debtor is in

   default under the deed of trust or other contract lien, and must give the debtor at least 20 days

   to cure the default before a subsequent notice of sale can be given [Tex. Prop. Code §

   51.002(d); Bauder v. Alegria, 480 S.W.3d 92, 97–98 & n.8 (Tex. App.—Houston [14th Dist.]

   2015, no pet.) (when notice to cure and notice of foreclosure were sent to wrong address, trial

   court properly set aside foreclosure sale).

21. As attested to in the sworn facts herein, Plaintiff never received anything resembling a 20-day

   notice to cure, nor did Plaintiff receive the Notice of Substitute Trustee Sale. Because they

   were not received by Plaintiff, it is likely true that they were not sent by the Defendant, and

   Defendant should be required to provide proof that they were in fact sent, according to the

   requirements under the Texas Property Code, as outlined above.


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22. Therefore, because the 20-day notice to cure NOR the 21-day notice of acceleration were not

     received by Plaintiff, Plaintiff alleges that they was not sent, according to the Plaintiff’s sworn

     testimony herein, Plaintiff seeks declaratory relief that Defendant/Lender is not entitled to

     foreclose and requests that this court grant the request for a Temporary Restraining Order.

B.       TDCA Violations

23. All facts and allegations set forth above are incorporated by reference herein for all purposes.

24. The Texas Debt Collection Act (the “TDCA”) is the Texas counterpart to the Federal Debt

     Collect Practices Act (the “FDCPA”) and is found at TEX. FIN. CODE § 392.001 et. Seq.

25. The TDCA provides remedies for wrongful debt collection practices used by a debt collector

     in debt collection. See Tex. Fin. Code§§ 392.001-.404; see also Ford v. City State Bank of

     Palacios, 44 S.W.3d 121, 135 (Tex. App.-Corpus Christi 2001, no pet.).

26. "Debt collection" is defined as the act or practice "in collecting, or in soliciting for collection,

     consumer debts that are due or alleged to be due a creditor." Tex. Fin. Code § 392.001(5).

27. Defendants violated the TDCA. See Tex. Fin. Code § 392.001 et seq.

28. To state a claim for a TDCA violation, the plaintiff is required to show that the defendant: (1)

     is a debt collector; (2) committed a wrongful act in violation of Tex. Fin. Code § 392.01 et

     seq.; (3) against the plaintiff; and (4) as a result, the plaintiff was injured. See McCaig v. Wells

     Fargo Bank (Texas), NA., 788 F.3d 463, 480-81 (5th Cir. 2015) ("[t]he statutory text [of the

     TDCA] contains no intent requirement . . . as suggested by the statute's plain text, district courts

     have recognized that facially innocuous misrepresentations made in the course of an attempt




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   to collect a debt constitute a violation of [the TDCA ]."); see also Catherman v. First State

   Bank, 796 S.W.2d 299, 302 (Tex. App.-Austin 1990, no writ).

29. The debt in question relating to Plaintiffs' home is a "consumer debt" within the meaning of

   such statute because the debt is an obligation for personal, family, or household purposes. Tex.

   Fin. Code § 392.001(1), (2). Furthermore, Plaintiffs are "consumers" within the meaning of

   Tex. Fin. Code § 392.001.

30. A "debt collector" is "a person who directly or indirectly engages in debt collection." Id. §

   392.001(6). This definition also includes a mortgage servicer. See Miller v. BAC Home Loans

   Servicing, LP, 726 F.3d 717, 723 (5th Cir. 2013). Defendants, therefore, are debt collectors.

31. Defendants' acts and omissions as alleged supra constitute TDCA violations. The TDCA

   provides that, in debt collection or obtaining information concerning a consumer, a debt

   collector may not use a fraudulent, deceptive, or misleading representation that employs the

   following practices:

                a.    (8) misrepresenting the character, extent, or amount of a consumer debt, or

        misrepresenting the consumer debt's status in a judicial or governmental proceeding. Tex.

        Fin. Code Ann.§ 392.304(a)(8).

                b.    (19) using any other false representation or deceptive means to collect a

        debt or obtain information concerning a consumer. Tex. Fin. Code § 392.304(a)(19).

32. Section 392.304(a)(19) is a catch-all provision that prohibits debt collectors from "using any

   other false representation or deceptive means to collect a debt or obtain information concerning




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   a consumer." Birchler v. JPMorgan Chase Bank, No. 4:14-CV-81-ALM, 2015 WL 1939438,

   at *5 (E.D. Tex. Apr. 29, 2015).

33. The Fifth Circuit Court of Appeals has acknowledged that even if a loan is in default, a lender

   may still violate § 392.301. "In determining whether foreclosure would be prohibited by law,

   however, what matters is whether the mortgagor has a right to foreclose, not whether the debt

   is considered in default." McCaig v. Wells Fargo Bank (Texas), NA., 788 F.3d 463, 478 (5th

   Cir. 2015).

34. The Supreme Court of Texas has also opined that a party can recover injunctive relief and

   actual damages that are a "reasonably foreseeable result of the wrongdoer's conduct." Brown

   v. Oaklawn Bank, 718 S.W.2d 678, 680 (Tex. 1986). The Northern District has noted "that

   Brown suggests that the harm claimed must have been merely a 'reasonably foreseeable result'

   of alleged misconduct under the TDCA [but] it does not require that the harm be the sole result

   of a defendant's acts." Clark v. Deutsche Bank Nat'l Tr. Co., 3:14-CV-3590-B, 2016 WL

   931216, at *7 (N.D. Tex. Mar. 11, 2016)(emphasis added). Thus, the causation standard for a

   TDCA violation is akin to the "producing cause" standard set forth in the Deceptive Trade

   Practices Act. See Tex. Bus. & Com. Code § 17.S0(a); Prudential Ins. Co. of Am. v. Jefferson

   Associates, Ltd., 896 S.W.2d 156, 161 (Tex. 1995).

35. Actual damages recoverable under the TDCA include damages for mental anguish and do not

   first require a showing of physical injury. Ledisco Fin. Servs. v. Viracola, 533 S.W.2d 951,

   957 (Tex. App.-Texarkana 1976, no writ.); Monroe v. Frank, 936 S.W.2d 654, 661 (Tex. App.-

   Dallas 1996, writ dism'd).


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36. Also, pursuant to Tex. Fin. Code § 392.403, Plaintiff is entitled to recover his attorneys' fees

     reasonably related to the amount of work performed and costs for all actions in the trial court

     and on appeal.

37. Plaintiffs maintain that Defendants violated § 392.304(a) subsections (8) and (19) when:

                      a. It attempted to foreclose without having sent out the required notices;

                      b. It did not, and still has not, applied payments made to it in 2014 and 2015;

                      c. It reported to the IRS different payments and interest paid than what it

            represented to the Plaintiff had been paid;

                      d. It assessed forced placed insurance in violation of federal law and when

            Plaintiff had her own property insurance already in place.

38. As a result of Defendants' TDCA violations, Plaintiff suffered severe mental anguish and

     emotional distress. Plaintiff is constantly worried and confused about the status of the loan.

     They also lost time away from work and suffered the inconvenience of having to resolve the

     matter. Therefore the court should order that Defendants violated the TDCA through their

     servicing of the loan and their attempted wrongful foreclosure and should be restrained from

     proceeding with foreclosure.

C.      Violation of RESPA Regulation X – Sec. 1024.37 Force-placed insurance

39. All facts and allegations set forth above are incorporated by reference herein for all purposes.

40. Regulation X – Section 1024.37 regulates when and how a lender or servicer may obtain hazard

     insurance on behalf of the borrower.




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41. Section (b) states: “A servicer may not assess on a borrower a premium charge or fee related

   to force-placed insurance unless the servicer has a reasonable basis to believe that the borrower

   has failed to comply with the mortgage loan contract's requirement to maintain hazard

   insurance.”

42. Further, under section (c)(1), the servicer or lender must:

           a. “(i) Deliver to a borrower or place in the mail a written notice containing the

   information required by paragraph (c)(2) of this section at least 45 days before a servicer

   assesses on a borrower such charge or fee;

           b. (ii) Deliver to the borrower or place in the mail a written notice in accordance with

   paragraph (d)(1) of this section; and

           c. (iii) By the end of the 15-day period beginning on the date the written notice

   described in paragraph (c)(1)(ii) of this section was delivered to the borrower or placed in the

   mail, not have received, from the borrower or otherwise, evidence demonstrating that the

   borrower has had in place, continuously, hazard insurance coverage that complies with the loan

   contract's requirements to maintain hazard insurance.”

43. Plaintiff alleges that the Defendant violated this section of the federal code by not depositing

   the required notices into the mail because she does not remember ever receiving any such

   notices. Then, after the insurance was placed, and Plaintiff advised Defendant of the error, and

   fought with them to correct it, for many years now, Defendant still has not corrected the error.

   This illegally force placed insurance is the only reason Plaintiff ever fell behind on her




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   payments and has been the issue she has been trying to get the Defendant to acknowledge and

   correct all this time.

44. Therefore, as alleged herein, the Defendants did not comply with the requirements of the above

   noted section by providing Plaintiff with any of the required notices or reminders. In fact, had

   they, they would have been advised that Plaintiff already had insurance on the property.

45. Because this force-placed insurance is a major contributing factor to Plaintiff’s default,

   Plaintiff humbly requests that Defendant be required to pay all damages and provide all

   remedied available to Plaintiff under the violated regulation.

                                                VI.
                            Plaintiff/Counter-Defendant’s ANSWER to

                      Defendants/Counter-Plaintiff’s Original Counterclaim

46. Plaintiff/Counter-Defendant denies the allegations in Defendants Counterclaim paragraph 41.

   Specifically, per the tracking number provided in Defendants/Counter-Plaintiffs exhibits, the

   Notice of Default was “returned to sender” the day after it arrived at the distribution facility,

   indicating there was some type of error caused by the Defendants/Counter-Plaintiffs that kept

   it from ever being delivered to Diane Dorman. Furthermore Defendants/Counter-Plaintiffs

   have stated in a recent bankruptcy filing a completely different amount past due and current

   due date for the loan, and based on that, the allegation that the loan is currently due for

   November 1, 2010 is denied.

47. Plaintiff/Counter-Defendant denies the allegations in Defendants Counterclaim paragraph 42.

   Specifically, as far as Plaintiff can tell from the documents served on her, Defendants/Counter-



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   Plaintiffs attached only the cover letter for the Notice of Acceleration and Maturity to their

   Answer and did not include any tracking information.

48. Plaintiff/Counter-Defendant denies the allegations in Defendants Counterclaim paragraph 43

   because Defendants/Counter-Plaintiffs have NOT complied with all requirements to enforce

   their security agreement. Specifically, Defendants/Counter-Plaintiffs either sent a deficient

   notice of default, or did not sent one at all, and they also have not provided evidence that they

   sent the Notice of Acceleration of Loan Maturity to Diane Dorman.

49. Plaintiff/Counter-Defendant denies the allegations in Defendants Counterclaim paragraph 44.

50. Plaintiff/Counter-Defendant denies the allegations in Defendants Counterclaim paragraph 45.

51. Plaintiff/Counter-Defendant denies the allegations in Defendants Counterclaim paragraph 46.

52. Plaintiff/Counter-Defendant denies the allegations in Defendants Counterclaim paragraph 47.

53. Paragraphs 48 and 49 are not claims and therefore cannot be denied or admitted.

54. Plaintiff/Counter-Defendant denies the allegations in Defendants Counterclaim paragraph 50

   because they do not currently have the legal right to enforce the Note and Security Instrument

   due to their failure to comply with Texas and Federal law.

                                             VII.
                                     Remedies and Damages

Accounting

55. A request for an accounting is an equitable remedy used to determine the amount of damages.

   See Hutchings v. Chevron U.S.A., Inc., 862 S.W.2d 752, 762 (Tex. App.-El Paso 1993, writ

   denied). It is a flexible, equitable remedy that may apply in various scenarios according to



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     the sound discretion of the trial court. See, e.g., Gifford v. Gabbard, 305 S.W.2d. 668, 672

     (Tex. Civ. App.-El Paso 1957, no writ); Southwest Livestock & Trucking Co., 884 S.W.2d 805,

     810 (Tex. App.-San Antonio 1994, writ denied).

56. Plaintiff requests an Order for an accounting of all transactions on the mortgage loan.

Attorney’s Fees

57. Based upon the foregoing, Plaintiff requests recovery from Defendants, pursuant to Section

     37.009 of the Texas Civil Practice and Remedies Code, as well as pursuant to several laws

     cited and quoted above, for all costs and reasonable and necessary attorneys’ fees incurred

     herein, including all fees necessary in the event of an appeal of this cause to the Court of

     Appeals and the Supreme Court of Texas, as the Court deems necessary and just.

                                              VIII.
                                      Conditions Precedent

58. All conditions precedent to Plaintiff’s recovery on all claims and damages have been

     performed or have occurred.

                                      PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that:

a.      Compensatory damages be awarded within the jurisdictional limits of the Court;
b.      Pre-judgment and post-judgment interest as provided by law;
c.      Exemplary damages as requested herein or as determined by the Court; and
d.      Such other and further relief, both general and special, to which Plaintiff may be justly
        entitled, whether at law or in equity.




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                                   Respectfully submitted,

                                   LAW OFFICES OF Ryan Daniel

                                   By:___/s/ Ryan Daniel__________
                                         Ryan Daniel
                                         State Bar No. 24090604
                                         1525 US Hwy 380, Suite 500 #102
                                         Frisco, TX 75033
                                         ryan@ryandaniellaw.com
                                         (469)-688-0621
                                   ATTORNEY FOR PLAINTIFF




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